The language of the Direct Primary Act (Stats. 1913, sec. 23, p. 1379) material on this application is such as, beyond any question whatever, to sustain the position of the board of election commissioners and registrar. It is declared that "if the number of such 'majority candidates' falls short of the number of persons to be elected to such office, the names of said 'majority candidates' shall be printed on the ballot at the ensuing November election, together with such number of additional names only of such other candidates receiving the next highest number of votes for nomination to such office as may make the number of such additional names equal to twice the difference between the number of such 'majority candidates' and the number to be elected, or a smaller number, if the list of said other candidates is exhausted." (Italics are ours.) [1] The language is clear and unambiguous, and the courts, as well as the respondents, are bound thereby.
The application is denied.
All the Justices concurred.